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 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:10-cr-00249 AWI BAM
12                                Plaintiff,            STIPULATION TO DISMISS
                                                        VIOLATION PETITION & TO HAVE
13                                                      DEFENDANT TRANSPORTED TO
                                                        DESIGNATED BOP FACILITY;
14   v.                                                 ORDER
15

16   DARLING ARLETTE MONTALVO,
17                                Defendant.
18

19
20                                             STIPULATION

21          The United States of America, by and through its counsel of record, and defendant Darling

22 Arlette Montalvo, by and through her counsel of record, hereby stipulate as follows:

23          1.     Defendant Darling Arlette Montalvo was sentenced by the Court on April 13, 2015 to

24 24 months imprisonment, following her conviction after a jury trial of one count of conspiracy to

25 commit mail, wire and bank fraud (18 U.S.C. § 1349), ten counts of mail fraud (18 U.S.C. § 1341)
26 and one count of money laundering and aiding and abetting (18 U.S.C. §§ 1957 and 2). Defendant

27 Montalvo was ordered to surrender for service of her sentence on or before June 1, 2015. Defendant

28 Montalvo did not surrender for service of her sentence; she was arrested on a separate state criminal

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 1 charge in Washington prior to her self-surrender date in the present case.

 2          2.      Following defendant Montalvo’s arrest in Washington on state charges, on May 28,

 3 2015 a pretrial services violation petition was filed against her in the present case and the Court

 4 issued a bench warrant for her arrest [Doc. 348]. On November 5, 2015, defendant Montalvo made

 5 her initial appearance in the Western District of Washington on the pretrial services violation

 6 petition, and she was ordered to be transported to this district. Defendant Montalvo is currently in

 7 the custody of the U.S. Marshals.

 8          3.      After having conferred with the Pretrial Services Office and the U.S. Marshals, the

 9 government and defendant Montalvo jointly stipulate and request that the Court order that the

10 pretrial services violation petition filed May 28, 2015 [Doc. 348] be dismissed, and that defendant

11 Montalvo be transported to the designated Bureau of Prisons facility to serve her sentence in this

12 case.

13 IT IS SO STIPULATED.

14 DATED:           Dec. 3, 2015           /s/ Kirk E. Sherriff
                                           KIRK E. SHERRIFF
15                                         HENRY Z. CARBAJAL III
                                           Assistant United States Attorneys
16
     DATED:         Dec. 3, 2015           /s/ Eric V. Kersten
17                                         (authorized on 12/3/15)
                                           ERIC V. KERSTEN
18                                         Counsel for defendant
                                           DARLING ARLETTE MONTALVO
19
                                                  ORDER
20
            IT IS ORDERED that the pretrial services violation petition filed May 28, 2015 [Doc. 348]
21
     be dismissed, and that defendant Montalvo shall remain in the care, custody and control of the
22
     United States Marshal to be transported to the designated Bureau of Prisons facility to serve her
23
     sentence in this case.
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25 IT IS SO ORDERED.
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        Dated:     December 3, 2015                           /s/ Barbara A. McAuliffe               _
27                                                     UNITED STATES MAGISTRATE JUDGE
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